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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                          )
                                                   )            8:11CR254
                     Plaintiff,                    )
                                                   )
       vs.                                         )             ORDER
                                                   )
RONALD L. PETERSON,                                )
                                                   )
                     Defendant.                    )




       This matter is before the court on the motion of Assistant Federal Public Defender
Jennifer L. Gilg and the Office of the Federal Public Defender to withdraw as counsel for the
defendant, Ronald L. Peterson (Peterson) (Filing No. 48). Ms. Gilg represents that the Office
of the Federal Public Defender has a conflict of interest in this matter. Ms. Gilg’s and the
Office of the Federal Public Defender’s motion to withdraw (Filing No. 48) is granted.
       Glenn A. Shapiro,1001 Farnam Street, Third Floor, Omaha, NE 68102, (402) 341-
0700, is appointed to represent Peterson for the balance of these proceedings pursuant to the
Criminal Justice Act. Ms. Gilg shall forthwith provide Mr. Shapiro with the discovery materials
provided the defendant by the government and such other materials obtained by Ms. Gilg
which are material to Peterson’s defense.
       The clerk shall provide a copy of this order to Mr. Shapiro, and he shall file his
appearance forthwith.


       IT IS SO ORDERED.


       DATED this 13th day of September, 2011.


                                                   BY THE COURT:

                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
